                Case 5:13-cr-40070-JAR                   Document 19-4        Filed 10/08/13             Page 1 of 1

EXHIBIT 405


 AO 93 (Rev.0l/09) Search and Scizure Warrant (Page 2)

                                                                Return
Case No.                               Date and time warrant executed:       Copy of wananl and inventory lefl with:
                                        tt/¿qlp- ,2jtfçr,'                       tr*r¿o Ír) )/r,[ao¿
Invenlory made ln the presence
                                                    t          (:,

Inventory ofthe property taken and name of any person(s)


         Ct ñ   €,, C. t> Q o,--                      7?' 22U 3'?'i C*^{..,.rs
                                             D', s k- p,-tcr:k ^"¿
                                                       co;Jd¡rss p¡ tr-e-J'. a[€-'yal,..
         .//r<       C.,¡.te,''i5 ,:r* +lno €¡t-t,-',1




                                                             Certifìcation


           I declare under penalty ofperjury that this inventory             and was                      with the original warrant
1o the

Date:                                                                              Execuling          's signaatre



                                                                                 lampe ñ K             r Snecial Aoenl
                                                                                               name cutd title




                                                                                        Judge's sígnaturc
